David W. Thayer

1301 KS Hwy 264
Larned, KS 67550
620-285-4660 Ext. 1 By:

  

UNITED STATES DISTRICT COURT

DISTRICT OF KANSAS
David W. Thayer, )
Plaintiff, )
)
v. )
)
Lesia Dipman, Larned State Hospital (LSH), ) Case No. 22—3086—-SAC

Superintendent; Jeff Brown, LSH Chaplain; Haleigh )
Bennett, SPTP Interim Program Director; Linda Kidd, )

 

SPTP Program Leader. ) INFORMA PAUPERIS
Defendant(s). ) APPLICATION TO
) PROCEED WITHOUT
) PREPAYMENT OF FEES
)
IN FORMA PAUPERIS

 

I, David W. Thayer, declare that I am the petitioner/plaintiff/movant in the above-titled proceeding; that
in support of my request to proceed without prepayment of fees or costs under 28 U.S.C.S. § 1915 1
declare that I am unable to pay the costs of these proceedings and that I am entitled to relief sought in
the complaint.
In support of this application, I attest to the following under penalty of perjury:

1. Iam not currently incarcerated or serving a criminal sentence;

2. Iam confined to a mental institution pursuant to the Kansas Sexually Violent Predator Act

(KSA 59-29a01 et seq.);
3. Jam not employed and do not receive any kind of benefit, pension, retirement or inheritance;
4. I donot have any funds in my institutional trust fund account, checking or savings account;

5. Ido not own any real estate, stocks, bonds, securities, other financial instruments, automobiles

or any other thing of value.

 

 

In Forma Pauperis Pg. 1 of 3 4
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VERIFICATION AFFIDAVIT
DECLARATION UNDER PENALTY OF PERJURY
The undersigned declares (or certifies, or verifies, or states) under penalty of perjury that he is the
Affiant in the attached Application, that he has read the attached Application and that the information
contained therein is true and correct. 28 U.S.C. § 1746, 18 U.S.C. § 1621, K.S.A. 53-601.

EXECUTED AT 1301 Kansas Highway 264, Larned Kansas 67550 ON September_06"_ 2022.

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David W. Thayer, Pro Se.
1301 K264

Larned, KS. 67550
620-285-4660 Ext. 1

 

In Forma Pauperis September 6, 2022

 
CERTIFICATE OF SERVICE

I, David W. Thayer, hereby certify on this Tuesday, September 06, 2022, that a true and correct copy
of the above and forgoing “In Forma Pauperis Application” and “Verification Affidavit” was mailed
to all parties by placing said documents, postage prepaid, into the hands of staff at Larned State
Hospital, Dillon, East 1, in a properly addressed sealed envelope addressed to the following recipients:

United States District Court
444 SE Quincy Rm. 490
Topeka, Kansas

66683

 

David W. Thayer, pro. se.,
1301 KS Highway 264
Larned, Kansas 67550

Tel: (620) 285-4660 Ext #1

 

 

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